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                          EXHIBIT 4
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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTMCT OF TEXAS
                                   HOUSTON DIVISION

PETER BARBARA and JOHN DREW,                        §
                                                    §
          Plaintiffs,                               §
                                                    §
V.                                                  §
                                                    §        CIVIL ACTION NO. 4:22-CV-03340
MCGRIFF INSURANCE SERVICES,                         §
INC.,                                               §
                                                    §
          Defendant.                                §
               PLAINTIFF JOHN DREW'S PROPOSED CONCLUSIONS OF LAW

         Plaintiff John Drew files these Proposed Conclusions of Law and respectfully shows the


Court the following:


1. Jurisdiction


The Court has jurisdiction over this lawsuit pursuant to 28 U.S.C. §§ 1331 and 1332, as well as 29

U.S.C. § 1367.


2. The ADEA and Texas Labor Code Chapter 21


a. The Age Discrimination in Employment Act ("ADEA") makes it unlawful for an employer to


      "fail or refuse to hire or discharge any individual with respect to his compensation, terms,


      conditions, or privileges of employment." 29 U.S.C. § 623(a).


b. A plaintiff proceeding under the ADEA must prove that he was "within the protected class,"


      i.e., age 40 or older; qualified for the position he held; suffered an adverse employment decision;


      and was treated less favorably than similarly situated younger employees." Leal v. McHngh, 731


      F.3d 405, 410-411 (5th Cir. 2015).



c. To prevail on a cause of action for violation of 29 U.S.C. § 623(a)(l), "a plaintiff must prove


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     that age was the 'but-for' cause of the employer's adverse action." Harris v. City ofSchertz,


     27 F.4th 1120, 1 123 (5th Cir. 2022) (quoting Gross v. FBL Fin. Servs., Inc., 557 U.S. 167, 176


     (2009)).

d. Attorneys' fees under the ADEA are only available to a plaintiff who is a "prevailing party."


     Tyler v. Union Co. ofCal., 304 F.3d 379, 404 (5th Cir. 2002).


e. Under the Texas Labor Code (the "Code"), "an employer commits an unlawful employment


     practice if because of race, color, disability, religion, sex, national origin, or age the employer


     . . . discharges an individual, or discriminates in any other manner against an individual in


     connection with compensation or the terms, conditions, or privileges of employment." Tex.


     Lab. Code §21.051.


f. Under the Code, an "unlawful employment practice is established when the complainant


     demonstrates that race, color, sex, national origin, religion, age or disability was a motivating


     factor for an employment practice, even if other factors also motivated the practice[.]" Tex.


     Lab. Code § 21.125(a). "Motivating factor" means that the employee's age was "a reason for


     making the decision at the time it was made." Dallas County Sheriff's Dep't v. Gilley, 114


      S.W.3d 689, 693 (Tex. App.—Dallas 2003, no pet.). See also Price Waterhouse v. Hopkins,


     490 U.S. 228, 250 (1989) (in gender discrimination case, "in saying that gender played a

     motivating part in an employment decision, we mean that, if we asked the employer at the


     moment of the decision -what its reasons were and if we received a truthful response, one of


     those reasons would be that the applicant or employee was a woman").


3. Limitations


a. The Lilly Ledbetter Fair Pay Act amended the ADEA to read, in pertinent part:


                   For purposes of this section, an unlawful practice occurs, with respect to
                   discrimination in compensation in violation of this chapter, when a

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                   discriminatory compensation decision or other practice is adopted, when a
                   person becomes subject to a discriminatory compensation decision or other
                   practice, or when a person is affected by application of a discriminatory
                   compensation decision or other practice, including each time wages, benefits, or
                   other compensation is paid, resulting in whole or in part from such a decision or
                   other practice.


                   29 U.S.C.A. § 626(d)(3).

b. Therefore, each time a person is "affected by application of a discriminatory compensation


     decision or other practice" including when "wages, benefits, or other compensation is paid," the


     cause of action renews. See id.


c. The Ledbetter Act does not apply to "discrete acts" such as "termination, failure to promote,


     denial of transfer, and refusal to hire." Niwayama v. Tex. Tech Univ., 590 Fed. Appx. 351, 356


     (5th Cir. 2014). Rather, the "discrimination in compensation" means "paying different wages


     or providing different benefits to similarly situated employees . ..." Id. (quoting Daniels v.


     United Parcel Serv., Inc., 701 F.3d 620, 630-31 (10th Cir. 2012)); see also Noel v. Boeing Co.,


      622 F.3d 266,275 (3d Cir. 2010) (distinguishing between a failure to receive a raise from failing

     to receive a promotion, which is a discrete act.).


d. McGriff s decision to repeatedly exclude Drew from the Program from 2008 through the present


      day is precisely the kind of direct discrimination in compensation that is covered by the


      Ledbetter Act. This is not the case where a discrete act, like failure to promote, termination, or


      refusal to hire, led to lower pay. Rather, IVIcGriff committed discrimination in compensation


      against Drew based upon his age by repeatedly refusing to provide him compensation under the


      Program but providing it to others who were younger but similarly situated (?". e. those eligible


      under the Program).


e. McGriffs own corporate representative testified he did not know of anything that would have


      precluded Drew from participating in the Program in the same years as Marc Boots, who was a

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     younger employee given a loan under the Program in 2008, 2009,2014,2016,2018,2019, 2020,


     2021, and 2023. McGriff s corporate representative also testified he did not know of any reason


     why Drew was not included in the Program other than his age and agreed every time Drew was


     not made a part of the Program, other people younger than him were, which, of course, caused


     his compensation to be less than those younger participants. Thus, every time McGriff paid


     these other similarly situated but younger employees pursuant to the Program, but not Drew,


     Drew's discrimination claim renewed.


f. The Promissory Note Drew signed in May 2016 for the loan he finally received indicated he

     would be paid in five $10,000.00 installments through May 1, 2021. These installments were


     approximately 1/10 of what he should have received, and other younger Producers did receive,


     pursuant to the Program formula. Therefore, Drew was subjected to age discrimination through


     at least May 2021, which is well within 180 days of September 2021, when he filed his

     EEOC/TWC Charge of Discrimination.

g. There is no language in the ADEA, as amended by the Ledbetter Act, that limits the amount of


     damages that can be sought based upon a "look back" theory. See generally 29 U.S.C.A. § 626.


     Therefore, Drew is not limited to seeking back pay only in the 180 days preceding the filing of

     his charge. See United States v. Clint\vood Elkhorn Min. Co., 553 U.S. 1, 11 (2008) (There is a


      "strong presumption that the plain language of the statute expresses congressional intent. . . .")


      (internal quotations omitted); Mehmen v. Collin Cnty., Tex., 558 F. Supp. 2d 711, 715 (E.D. Tex.


      2007) ("The plain language of the statute must be the court's North Star."); McMellon v. United


      States, 387 F.3d 329, 339 (4th Cir. 2004) ("The Supreme Court has repeatedly explained that

      the plain language of a statute is the best evidence of Congressional intent.").


h. Equitable tolling and/or equitable estoppel toll any limitations period until 2021.


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i. Federal law governs the pleading requirements of this case; therefore, Drew was only required


     to, and did, plead sufficient facts to put McGriffon notice of the reliance on tolling theories.


j. When a case is removed to federal court, federal law governs procedural requirements, including


     pleading requirements. Simpson v. James, 903 F.2d 372, 375 (5th Cir. 1990); Hvdnall v. Tex.,


     No. EP-22-CV-36-KC-RFC, 2022 WL 3219423, at * 11 (W.D. Tex. Aug. 9, 2022) (noting that


     a federal court hearing state law claims under diversity or supplemental jurisdiction shall apply


     state substantive law and federal procedural law.). Therefore, the pleading requirements for


     both of Drew's claims for age discrimination under the ADEA and Chapter 21 of the Texas


     Labor Code are governed by federal law.


k. Federal law mandates that a plaintiff need only plead sufficient facts to put the defense on notice


     of the reliance on a tolling theory. Colonial Penn Ins. Co. v. Mkt. Planners Ins. Agency, Inc., 1


     F.3d 374, 376 (5th Cir. 1993). For example, in Ray v. Lynass, the Western District of Texas


     recently held that the facts pleaded gave sufficient notice of the reliance on the discovery rule


     where the plaintiff alleged that the defendant made representations that he had the knowledge,


      skill, and experience to greatly expand plaintiffs business yet failed to do so when he was


      supposed to contact prospective customers but failed to convert any leads. No. 1:21-CV-0020-


      DH, 2023 WL 7238682, at *8 (W.D. Tex. Nov. 2, 2023). Similarly, the Fifth Circuit held

      sufficient facts were alleged to show reliance on the discovery rule and fraudulent concealment


      where the plaintiffs allegations included a statement that the defendant breached its duty as an


      agent as a fiduciary by "failing to disclose all material information with respect to the sale of


      [plaintiffs p]olicies and the premiums arising from those sales, and by failing to account for


      money received by [defendant] on behalf of plaintiff [.]" Colonial Penn Ins. Co., 1 F.3d at 376,


      378, n.2 (5th Cir. 1993).



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1. Drew alleged ample facts to put McGriff on notice of his reliance on equitable estoppel and


     equitable tolling. Specifically, the Original Petition alleges that McGriffs provided

     explanations for its refusal to include the Plaintiffs in the Program were "false and, when called


     on those falsifies, [iMcGriff] simply came up with more inaccurate justifications for the


     employees' wrongful exclusions from the program." See Pet. at ^ 6. Drew again provides notice


     of his reliance on a tolling theory in paragraph 19 by further detailing the erroneous justifications


     provided to him by McGriff for his exclusion in the program. See Pet. at ^ 19. Drew also


     alleges he did not find out about McGriffs justifications being false until 2021, when he and

     Plaintiff Peter Barbara began discussing the Program and inquiring about their exclusion. See


     Pet. at ^ 13, 19. McGriffs corporate representative was asked if he knew of any inaccuracies


     in Paragraph 13 of the Petition. He testified he did not. Therefore, Drew provided sufficient


     evidence to put MlcGriffon notice of his reliance on equitable estoppel and equitable tolling.


m. McGriff should be estopped from relying upon a limitations defense due to its continued


     concealment and misrepresentation of facts to lull Drew into failing to timely file a charge of


      discrimination.


n. Filing of a timely charge of discrimination with the EEOC or TWC is not a jurisdictional

     prerequisite to suit. See Hinkley v. Envoy Air, Inc., 968 F.3d 544, 553 (5th Cir. 2020) ("[W]e

      conclude § 21.202's 180-day filing deadline, although mandatory, is not jurisdictional.");


      Granger v. Aaron's, Inc., 636 F.3d 708, 711 (5th Cir. 2011) ("[F]iling a timely charge of


      discrimination with the EEOC is not ajurisdictional prerequisite . . .."). As such, like statute of


      limitations, filing a charge of discrimination is subject to waiver, estoppel, equitable tolling or


      the discovery rule. Granger, 636 F.3d at 711.




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o. Equitable estoppel prevents a defendant from asserting that a discrimination charge was


     untimely as a defense where the defendant concealed facts or misled the plaintiff thereby causing


     the plaintiff to not assert his rights within the limitations period. See Rhodes v. Guiberson Oil


     Tools Div., 927 F.2d 878-79 (5th Cir. 1991); see also Pruet Prod. Co. v. Ayles, 784 F.2d 1275,


     1280 (5th Cir. 1986) ("An employer's misrepresentations or wrongful concealment of facts


     necessary to support a discrimination charge have given rise to estoppel where they prevented


     an employee from asserting his rights timely."). "An essential element of equitable estoppel is


     that the party asserting must have reasonably relied on the statement or the conduct of the party


     sought to be estopped." Tomlinv. Signal Intern., No. 1:11-CV-3,2012 WL 3984517, at *5 (E.D.


     Tex. Aug. 9, 2012).


p. In Rhodes v. Gniberson Oil Tools Div., the 56-year-old plaintiff received notice he was being


     discharged from his job with defendant because of a reduction in work force on October 15,


      1986. Rhodes, 927 F.2d at 877. His last day on the job was October 31,1986. Id. On or about


     December 19, 1986, the plaintiff discovered that four days earlier, defendant had hired a 42-


     year-old to replace him. Id. Plaintiff filed a charge with the EEOC on April 28, 1987, 195 days

      after he received notice of his termination. Id. The Fifth Circuit held that equitable estoppel


      applied as the plaintiff did not learn of his age discrimination claim until he found out he was

     replaced by a younger man as the defendant concealed facts and misled him by stating he was


      being terminated due to a reduction in work force. Id. at 880-82.


q. Here, McGriffhas similarly concealed and misstated facts to lull Drew into not approaching the


      EEOC or TWC sooner. When McGriff communicated the retention tools available to Drew, it


      left out any mention of the Program despite the Program being included in a memorandum


      regarding "Producer Retention" just two months earlier. See Exhibits C and D. When Drew



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     tried, over and over again, to get to the bottom of why he had not been put in the Program,


     McGriff responded falsely. First, its CFO indicated participation "would come along later." It


     didn't, so Drew approached the Chairman/CEO and the President for McGriff Texas and was


     told by both of them that he was included in Book Equity, rather than the Program, and that was


     better for him. It wasn't, and the assertion couldn't have possibly been true, as many Producers


     participated in both Book Equity and the Program. McGriffs corporate representative, Mr.


     Hodo, also confirmed he himself, despite not knowing of any other reason why Drew was


     excluded from the Program other than age, and being told by the CEO of McGriffs Texas

     division that Drew was not included because of his age, never told Drew that he was not included


     in the Program due to his age prior to 2021. Additionally, when Drew was given $50,000.00 in


     2016 — a mere fraction of what he was entitled to under the Program but for his age — he was


     told by Mr. Hodo that $50,000.00 is better than nothing and Drew understood he would never


     receive anything else. Only then did Drew cease to inquire about the program.


r. McGriffs corporate representative testified he was not sure what else Drew could have done to


      act diligently to find out why he was excluded from the Program when the CEO had told him it

     was because he was getting Book Equity.


s. The Promissory Note Drew signed related to the loan indicated he would be paid in five $ 10,000


      installments through May 1, 2021. These installments were approximately 1/10 of what he


      should have received, and other younger Producers did receive, pursuant to the Program


      formula. Therefore, even if the Court chose not to toll limitations, Drew was subjected to age


      discrimination through at least May 2021, which is well within 180 days of September 2021,

      when he filed his EEOC/TWC Charge of Discrimination. Even in the absence of the Lilly




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     Ledbetter Act - which brings Drew's Charge within the limitations period - these events


     demonstrate Drew was subjected to discrimination within the requisite charge-filing period.


t. Drew pursued every avenue he could to diligently pursue his rights. As IVtcGriffs corporate


     representative recognized numerous times in his deposition. Drew followed up on multiple


     occasions and exercised diligence and acted reasonably throughout the years in trying to figure


     out why he was not included in the Program. In fact, Mr. Hodo testified he was not sure what


     else Drew could have done to act diligently to find out why he was excluded from the Program.


     Thus, similar to the plaintiff in Rhodes, Drew had no reason to suspect the reason he was not a


     part of the Program was due to his age until he discovered McGriffhad concealed relevant facts


     and was actively misleading him in 2021. Accordingly, McGriff should not be allowed to take

     advantage of its misrepresentations and should be estopped from alleging Drew failed to timely


     file his discrimination charge.


u. Even ifMcGriffwas not estopped from asserting a limitations defense, Drew's claims were


     tolled until 2021 under equitable tolling as Drew was unaware of the facts giving rise to his


     claim because ofMcGriffs intentional concealment and misrepresentation of same.


v. Equitable tolling tolls limitations during the plaintiffs excusable ignorance and is committed to


     the sound discretion of the judge. Champlin v. Manpower Inc., No. 4:16-CV-00421, 2018 WL


      572997, at *4 (S.D. Tex. Jan. 24, 2018). For equitable tolling to apply, a plaintiff must show


      "(I) that he has been pursuing his rights diligently, and (2) that some extraordinary circumstance


      stood in his way and prevented timely filing." Id. (quoting Menominee Indian Tribe of Wisconsin


     v. United States, 577 U.S. 250, 255 (2016)).

w. The Fifth Circuit has recognized at least three bases for equitable tolling: the pendency of a suit


      between the same parties in the wrong forum; (2) plaintiffs unawareness of the facts giving rise



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     to the claim because of the defendant's intentional concealment of them; and (3) the EEOC's


     misleading the plaintiff about the nature of her rights. Granger, 636 F.3d at 712.


x. Equitable tolling is to be applied in cases "where purposeful misrepresentations misled a party


     or where a party could not have vindicated its rights even by exercising due diligence." Hull v.


     Emerson Motors/Nidec, 532 Fed. Appx. 586, 588 (5th Cir. 2013). In pleading equitable tolling,

     "[a] plaintiff need not prove intentional misconduct by the employer, but must demonstrate that


     'the defendant's conduct, innocent or not, reasonably induced the plaintiff to not file suit within


     the limitations period.'" Boudreau v. Nokia of Am. Corp., No. 3:19-CV-01623-E, 2020 WL


     7426155, at *5 (N.D. Tex. Dec. 18, 2020) (quoting Tyler v. Union Oil Co. ofCal., 304 F.3d 379,


     391 (5th Cir. 2002)).

y. Texas law similarly tolls limitations pursuant to fraudulent concealment when a plaintiff proves


     "an underlying wrong, and that the defendant actually knew the plaintiff was in fact wronged,


     and concealed that fact to deceive the plaintiff." Gallier v. Woodbury Fin. Services, Inc., 171


     F.Supp.3d 552, 563 (S.D. Tex. 2016) (internal quotations omitted). Fraudulent concealment is


     fact-specific and "tolls limitations until the fraud is discovered or could have been discovered


     with reasonable diligence." Valdez v. Hollenbeck, 465 S.W.3d 217,229 (Tex. 2015). Indeed, as


     the Texas Supreme Court noted, "accrual is deferred because a person cannot be permitted to


      avoid liability for his actions by deceitfully concealing wrongdoing until limitations has run."


      S.V. v. R.V., 933 S.W.2d 1, 6(Tex.1996).


z. This case is riddled with instances of McGriff intentionally misrepresenting the reason for


      denying Drew's participation in the Program. As detailed above, McGriff completely omitted


      the Program in its communications with Drew even though the Program was included in a


      memorandum regarding "Producer Retention" just two months earlier. In addition, Drew was



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     told multiple times that he was getting a better deal through Book Equity, rather than Program


     participation, when in reality membership in both was not mutually exclusive. The list of


     Program participants is littered with Producers who also received Book Equity. Nor was Drew


     ever told prior to 2021 that he was not included because of his age, despite McGriffs corporate


     representative having known since 2012-2015 that that was the very reason for his exclusion.


     Rather, Drew was told when he received the $50,000.00 loan that that was better than nothing


     and that was all he would ever be eligible for. Additionally, Drew inquired on multiple

     occasions about the refusal to include him in the Program and, as McGriffs corporate


     representative recognized, exercised diligence and acted reasonably throughout the years in


     trying to figure out why he was not included. Based on these events, there is no conceivable


     way Drew could have known of all the facts to support his claim due to McGriffs continuous


     misrepresentations and concealment until he learned in 2021 that McGriff failed to include him


     and Peter Barbara in the Program due to their age. See Boudreau, 2020 WL 7426155, at *5


      (denying motion to dismiss as sufficient facts were alleged regarding equitable tolling where it


     was not until a younger male with less management experience was hired that the plaintiff


      learned of the facts necessary to support her discrimination charge as the former employer


     previously misrepresented to plaintiff that she did not receive the promotion due to her lack of


      management experience.).


Mr. Hodo testified he wouldn't fault Drew for not filing any sort of discrimination claim at the time


      Drew was told he wasn't in the Program because he purportedly got a better deal by way of


      Book Equity.


aa. Federal Rule of Civil Procedure 8(c) requires a defendant to affu'matively plead a limitations


      defense. FED. R. Civ. P. 8(c) ("In responding to a pleading, a party must affirmatively state any



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     avoidance or affirmative defense, including ... statute of limitations .. . ."); see also Razo v. State


     Farm Lloyds, No. 7:17-CV-00352, 2017 WL 6209608, at *2 (S.D. Tex. Dec. 8, 2017) ("Rule


     8(c) requires a defendant to affirmatively plead its limitations defense, and thus the general rule


     is that such a failure constitutes waiver of the defense."). Thus, a limitations defense, such as


     the failure to exhaust administrative remedies by not timely filing a charge, "is an affirmative


     defense that should be pleaded." Davis v. Fort Bend Cnty., 893 F.3d 300, 308 (5th Cir. 2018),


     aff'd, 139 S. Ct. 1843 (2019); see also Thomas v. Dallas Indep. Sch. Dist., No. 3:22-CV-2685-


     G-BN, 2023 WL 4687225, at *3 (N.D. Tex. May 31, 2023) (citing same rule for claims that

     included an ADEA claim); Johnson v. San Jacinto Coll., No. 4:20-CV-2948, 2021 WL 40323,


     at *2 (S.D. Tex. Jan. 5, 2021) (Texas law similarly holds that § 21.202 "creates a statute of


     limitations defense to a TCHRA claim when the administrative charge is not filed within 1 80

     days of the act alleged to be an unlawful employment practice."). The Fifth Circuit, however,


     has recognized that failure to raise an affirmative defense under Rule 8(c) in a party's first


     responsive pleading is not fatal if the defense is raised "at a pragmatically sufficient time, and


      [the plaintiff] was not prejudiced in its ability to respond." Allied Chem. Corp. v. Mackay, 695


      F.2d 854, 856 (5th Cir. 1983). "Unfair surprise and prejudice are central concerns underlying


     the requirement that a defendant timely plead affirmative defenses." LSREF2 Baron, L.L.C. v.


      Touch, 751 F.3d 394, 402 (5th Cir. 2014).

bb. McGriff contends Drew missed his charge-filing deadline. However, McGriff failed to plead


      this defense in any live pleading. It has been more than a year since McGriff filed its Answer


      in this case and it has failed to raise any affirmative defenses despite having an opportunity to


      do so prior to removing this case as well as during the 21-day period it was allowed to do so as


      a matter of course under the Federal Rules. FED. R. Civ. P. 81(c).




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4. Attorneys' Fees and Damages


a. Drew seeks recovery of reasonable and necessary attorneys' fees and costs pursuant to §


     21.259 of the Texas Labor Code as well as 29 U.S.C. § 216(b).


b. In assessing the reasonableness of fees sought by Drew in this lawsuit, courts apply the two-step


     method required by the Fifth Circuit. First, the 'lodestar' is determined by multiplying the

     number of hours reasonably spent on the litigation times a reasonable hourly billing rate.


     Watkins v. Fordice, 7 F.3d 453, 457 (5th Cir. 1993). Once the number of reasonable hours is


     established, those hours are "then multiplied by the selected hourly rate to produce the 'lodestar.'"


     Alberti v. Klevenhagen, 896 F.2d 927,930 (5th Cir. 1990). In determining the reasonable hourly


     rate, courts dictate that "an appropriate hourly rate" must be selected "based on prevailing


     community standards for attorneys of similar experience in similar cases." Blum v. Stenson, 465


     U.S. 886, 896 n. 11, 104 S.Ct. 1541 (1984); Alberti, 896 F.2d at 930. The second step in

     assessing attorneys' fees requires application of various factors identified by courts within the


     Fifth Circuit to determine what amount is warranted. The lodestar may be adjusted up or down


     if relevant factors indicate an adjustment is necessaiy to reach a reasonable fee in the case. The


     Fifth Circuit has identified twelve factors - often referred to as the Johnson factors — a district


      court should be guided by: (1) the time and labor required; (2) the novelty and difficulty of the

      issues in the case; (3) the skill requisite to perform the legal services properly; (4) the preclusion

      of other employment by the attorney due to acceptance of the case; (5) the customary fee charged


      for those services in the relevant community; (6) whether the fee is fixed or contingent; (7) time


      limitations imposed by the client or the circumstances; (8) the amount involved and the results


      obtained; (9) the experience, reputation, and ability of the attorneys; (10) the undesirability of

      the case; (11) the nature and length of the professional relationship with the client; and (12)



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     awards in similar cases. Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5


     Cir. 1974). Many of the Johnson factors are usually subsumed within the initial calculation of


     hours reasonably expended at a reasonable hourly rate. In fact, the lodestar may not be adjusted


     due to a Johnson factor if the lodestar calculation already took that factor into account. Watkins


     v. Input/Outpnt, Inc., 531 P. Supp.777, 784(S.D. Tex. 2007).


c. Drew is more than 40 years of age.


d. McGriffhas more than 500 employees.


e. Drew was qualified to be included in the Program.


f. Drew suffered an adverse employment action by not being included in the Program.


g. McGriff employees who are outside the protected age class were treated more favorably than


     Drew by being included in the Program.


h. McGriff intentionally discriminated against Drew.


i. Drew's age was a motivating factor in, and/or but for cause of, IVtcGriffs decision to exclude


     him from the Program.


j. McGriffs stated reasons for excluding Drew are false and pretext for age discrimination.


k. As a result ofMcGriffs intentional unlawful actions, it violated Chapter 21 of the Texas Labor


      Code and the Age Discrimination in Employment Act when it discriminated against Drew


      because of his age.


1. As a direct and proximate result of the conduct ofMcGriff, Drew has suffered injury.


m. For the injuries Drew has suffered, he seeks compensatory and consequential damages.


n. Because IvIcGriff acted with malice or reckless indifference to Drew's state-protected


      rights, he is also entitled to punitive damages. See Tex. Lab. Code § 21.2585.


o. Because McGriff acted willfully, Drew is also entitled to liquidated damages. See 29



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     U.S.C. § 626(b).


p. An Employer acts willfully when it "knew or showed reckless disregard' for whether the ADEA


     prohibited its conduct." Hazen Paper Co. v. Biggins, 507 U.S. 604, 615 (1993).


q. Drew is entitled to recover all applicable pre- and post-judgment interest.


r. Any propositions of fact identified by Plaintiff that the Court concludes are more accurately


     considered propositions of law.



                                                      Respectfully submitted,


                                                      GI




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on the 28th day of December 2023, a copy of the foregoing document

was served on counsel of record by the Court's el^F^ic filing ^ptem.




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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTMCT OF TEXAS
                                 HOUSTON DIVISION

PETER BARBARA and JOHN DREW, §
                                                   §
          Plaintiffs, §
                                                   §
V.                                   §
                                                   § CIVIL ACTION NO. 4:22-CV-03340
MCGMFF INSURANCE SERVICES, §
INC.,                                       §
                                                   §
          Defendant.                            §

               PLAINTIFF JOHN DREW'S PRQPQSED^^^^C^^^

         Plaintiff John Drew files these Proposed Conclusions of Law and respectfully shows the

Court the following:

1. Jurisdiction

The Court has jurisdiction over this lawsuit pursuant to 28 U.S.C. §§ 1331 and 1332, as well as 29

U.S.C. § 1367.


2. The ADEA and Texas Labor Code Chapter 21


a. The Age Discrimination in Employment Act ("ADEA") makes it unlawful for an employer to

     "fail or refuse to hire or discharge any individual with respect to his compensation, terms,

     conditions, or privileges of employment." 29 U.S.C. § 623(a),

b. A plaintiff proceeding under the ADEA must prove that he was "within the protected class,"

     i,e., age 40 or older; qualified for the position he held; suffered an adverse employment decision;

      and was treated less favorably than similarly situated younger employees." Leal v. McHugh, 731

      F.3d 405, 410-411 (5th Cir, 2015).



c. To prevail on a cause of action for violation of 29 U.S.C. § 623(a)(l), "a plaintiff must prove


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    that age was the 'but-for' cause of the employer's adverse action." Harris v. City ofScherfz,


    27 F.4th 1120, 1 123 (5th Cir. 2022) (quoting Gross v. FBL Fin. Servs., Inc., 557 US. 167, 176


     (2009)).

d, Attorneys' fees under the ADEA are only available to a plaintiff who is a "prevailing party."

     Tyler v. Union Co. ofCal, 304 P,3d 379, 404 (5th Cir. 2002),

e, Under the Texas Labor Code (the "Code"), "an employer commits an unlawful employment


     practice if because of race, color, disability, religion, sex, national origin, or age the employer

     . . . discharges an individual, or discriminates in any other mamier against an individual in

     comiection with compensation or the terms, conditions, or privileges of employment." Tex.


     Lab,Code§21.051.

f. Under the Code, an "unlawful employment practice is established when the complainant


     demonstrates that race, color, sex, national origin, religion, age or disability was a motivating

     factor for, an employment practice, even if other factors also motivated the practice[.]" Tex.


     Lab. Code § 21,125(a), "Motivating factor" means that the employee's age was "a reason for

     making the decision at the time it was made." Dallas County Sheriff's Dep't v. Gilley, 114


     S.W.Sd 689, 693 (Tex, App—Dallas 2003, no pet.). See also Price Waterhovse v. Hopkins,

     490 U.S. 228, 250 (1989) (in gender discrimination case, "in saying that gender played a


     motivating part in an employment decision, we mean that, if we asked the employer at the

     moment, of the decision what its reasons were and if we received a truthful response, one of


     those reasons would be that the applicant or employee was a woman").

3. Limitations

a. The Lilly Ledbetter Fair Pay Act amended the ADEA to read, in pertinent part:

                   For purposes of this section, an unlawful practice occurs, with respect to
                   discrimination in compensation in violation of this chapter, when a

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                   discriminatory compensation decision or other practice is adopted, when a
                   person becomes subject to a discriminatory compensation decision or other
                   practice, or when a person is affected by application of a discriminatory
                   compensation decision or other practice, including each time wages, benefits, or
                   other compensation is paid, resulting in whole or in part from such a decision or
                   other practice,


                   29 U.S.C.A. § 626(d)(3).

b. Therefore, each time a person is "affected by application of a discriminatory compensation

     decision or other practice" including when "wages, benefits, or other compensation is paid," the

     cause of action renews. See id.


c. The Ledbetter Act does not apply to "discrete acts" such as "termination, failure to promote,


     denial of transfer, and refusal to hire," Niwayama v. Tex. Tech Univ., 590 Fed, Appx, 351, 356

     (5th Cir. 2014). Rather, the "discrimination in compensation" means "paying different wages

     or providing different benefits to similarly situated employees . ..." Id. (quoting Daniels v.

     United Parcel Serv., Inc., 701 F.3d 620, 630-31 (10th Cir, 2012)); see also Noel v. Boeing Co.,

     622 F.3d 266,275 (3d Cir. 2010) (distinguishing between a failure to receive a raise from failing

     to receive a promotion, which is a discrete act.).


d, McGriffs decision to repeatedly exclude Drew from the Program from 2008 through the present

     day is precisely the kind of direct discrimination in compensation that is covered by the

     Ledbetter Act. This is not the case where a discrete act, like failure to promote, termination, or


     refusal to hire, led to lower pay. Rather, McGriff committed discrimination in compensation

      against Drew based upon his age by repeatedly refusing to provide him compensation under the

     Program but providing it to others who were younger but similarly situated (i.e. those eligible

      under the Program).

e. McGriffs own corporate representative testified he did not know of anything that would have

      precluded Drew from participating in the Program in the same years as Marc Boots, who was a

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     younger employee given a loan under the Program in 2008, 2009,2014,2016,2018,2019, 2020,

     2021, and 2023 . McGriff s corporate representative also testified he did not know of any reason


     why Drew was not included in the Program other than his age and agreed every time Drew was

     not made a part of the Program, other people younger than him were, which, of course, caused


     his compensation to be less than those younger participants. Thus, every time McGriff paid

     these other similarly situated but younger employees pursuant to the Program, but not Drew,

     Drew's discrimination claim renewed.


f. The Promissory Note Drew signed in IVlay 2016 for the loan he finally received indicated he

     would be paid in five $10,000.00 installments through May 1, 2021. These installments were

     approximately 1,10th of what he should have received, and other younger Producers did receive,

     pursuant to the Program formula, Therefore, Drew was subjected to age discrimination through

     at least May 2021, which is well within 180 days of September 2021, when he filed his

     EEOC/TWC Charge of Discrimination.

g. There is no language in the ADEA, as amended by the Ledbetter Act, that limits the amount of

     damages that can be sought based upon a "look back" theory. See generally 29 U.S.C.A, § 626.

     Therefore, Drew is not limited to seeking back pay only in the 180 days preceding the filing of

     his charge. See United States v. Clmt\'vood Elkhorn Min. Co., 553 US, 1, 11 (2008) (There is a

      "strong presumption that the plain language of the statute expresses congressional intent. . . .")


      (internal quotations omitted); Mehmen v. Collin Cnty., Tex., 558 F. Supp. 2d 711, 715 (E.D. Tex,

      2007) ("The plain language of the statute must be the court's North Star."); M.cMellon v. United

      States, 387 F.3d 329, 339 (4th Cir, 2004) ("The Supreme Court has repeatedly explained that

      the plain language of a statute is the best evidence of Congressional intent,").

h. Equitable tolling and/or equitable estoppel toll any limitations period until 2021.



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i. Federal law governs the pleading requirements of this case; therefore, Drew was only required

     to, and did, plead sufficient facts to put McGriffon notice of the reliance on tolling theories.

j. When a case is removed to federal court, federal law governs procedural requirements, including

      pleading requirements. Simpson v. James, 903 F.2d 372, 375 (5th Cir. 1990); Hudnall v. Tex.,

      No. EP-22-CV-36-KC-RFC, 2022 WL 3219423, at * 11 (W.D. Tex. Aug. 9, 2022) (noting that


      a federal court hearing state law claims under diversity or supplemental jurisdiction shall apply

      state substantive law and federal procedural law.). Therefore, the pleading requirements for

      both of Drew's claims for age discrimination under the ADEA and Chapter 21 of the Texas


      Labor Code are governed by federal law.

k. Federal law mandates that a plaintiff need only plead sufficient facts to put the defense on notice

      of the reliance on a tolling theory. Colonial Penn Ins. Co. v. Adkt. Planners Ins, Agency, Inc., 1


      P.3d 374, 376 (5th Cir. 1993), For example, in Ray v. Ly>wss, the Western District of Texas

      recently held that the facts pleaded gave sufficient notice of the reliance on the discovery rule

      where the plaintiff alleged that the defendant made representations that he had the knowledge,

      skill, and experience to greatly expand plaintiffs business yet failed to do so when he was

      supposed to contact prospective customers but failed to convert any leads. No. 1:21-CV-0020-


      DH, 2023 WL 7238682, at *8 (W,D. Tex. Nov. 2, 2023). Similarly, the Fifth Circuit held

      sufficient facts were alleged to show reliance on the discoveiy rule and fraudulent concealment

      where the plaintiffs allegations included a statement that the defendant breached its duty as an

       agent as a fiduciary by "failing to disclose all material information with respect to the sale of

       [plaintiffs p]olicies and the premiums arising from those sales, and by failing to account for

       money received by [defendant] on behalf of plaintiff [.]" Colonial Penn Ins. Co,, 1 F, 3d at 376,


       378, n.2 (5th Cir. 1993).


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1. Drew alleged ample facts to put McGriff on notice of his reliance on equitable estoppel and

     equitable tolling. Specifically, the Original Petition alleges that McGriffs provided

     explanations for its refusal to include the Plaintiffs in the Program were "false and, when called

     on those falsifies, [McGriffJ simply came up with more inaccurate justifications for the

     employees' wrongful exclusions from the program." See Pet, at ^ 6, Drew again provides notice


     of his reliance on a tolling theory in paragraph 19 by further detailing the erroneous justifications

     provided to him by McGriff for his exclusion in the program, See Pet. at. ^ 19. Drew also

     alleges he did not find out about McGriffs justifications being false until 2021, when he and


     Plaintiff Peter Barbara began discussing the Program and inquiring about their exclusion. See

     Pet. at IHT( 75, 19, McGriffs corporate representative was asked if he knew of any inaccuracies

     in Paragraph 13 of the Petition. He testified he did not. Therefore, Drew provided sufficient

     evidence to put McGriff on notice of his reliance on equitable estoppel and equitable tolling,

m, M'cGriff should be estopped from relying upon a limitations defense due to its continued

     concealment and misrepresentation of facts to lull Drew into failing to timely file a charge of

     discrimination.

n. Filing of a timely charge of discrimination with the EEOC or TWC is not a jurisdictional


     prerequisite to suit. See Hinkley v. Envoy Air, Inc., 968 F.3d 544, 553 (5th Cir. 2020) ("[W]e

     conclude § 21.202's 180-day filing deadline, although mandatory, is not jurisdictional.");

      Granger v. Aaron's, Inc., 636 F.3d 708, 711 (5th Cir. 2011) ("[Fjiling a timely charge of

      discrimination with the EEOC is not ajurisdictional prerequisite , , . ,"), As such, like statute of

      limitations, filing a charge of discrimination is subject to waiver, estoppel, equitable tolling or

      the discovery rule. Granger, 636 F.3d at 711.




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o, Equitable estoppel prevents a defendant from asserting that a discrimination charge was

     untimely as a defense where the defendant concealed facts or misled the plaintiff thereby causing

     the plaintiff to not assert his rights within the limitations period. See Rhodes v. Guiberson Oil

     Tools Div., 927 F.2d 878-79 (5th Cir. 1991); see also Pruet Prod. Co. v. Ayfes, 784 F.2d 1275,

     1280 (5th Gir. 1986) ("An employer's misrepresentations or wrongful concealment of facts


     necessary to support a discrimination charge have given rise to estoppel where they prevented

     an employee from asserting his rights timely."). "An essential element of equitable estoppel is

     that the party asserting must have reasonably relied on the statement or the conduct of the party

     sought to be estopped." Tomlinv. Signal Intern.,No, 1:1 l-CV-3,2012 WL 3984517, at *5 (E.D.

     Tex, Aug. 9, 2012).


p. In Rhodes v. Guiberson Oil Tools Div., the 56-year-old plaintiff received notice he was being

     discharged from his job with defendant because of a reduction in work force on October 15,

      1986. Rhodes, 927 F.2d at 877. His last day on the job was October 31, 1986. Id. On or about

     December 19, 1986, the plaintiff discovered that four days earlier, defendant had hired a 42-

     year-old to replace him. Id. Plaintiff filed a charge with the EEOC on April 28, 1987, 195 days

     after he received notice of his termination. Id. The Fifth Circuit held that equitable estoppel

      applied as the plaintiff did not learn of his age discrimination claim until he found out he was

     replaced by a younger man as the defendant concealed facts and misled him by stating he was

     being terminated due to a reduction in work force, Id, at 880-82.

q. Here, McGriffhas similarly concealed and misstated facts to lull Drew into not approaching the

      EEOC or TWC sooner, When McGriff communicated the retention tools available to Drew, it

      left out any mention of the Program despite the Program being included in a memorandum

      regarding "Producer Retention" just two months earlier. See Exhibits C and D. When Drew



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    tried, over and over again, to get to the bottom of why he had not been put in the Program,

    IVlcGriff responded falsely. First, its CFO indicated participation "would come along later. It

     didn't, so Drew approached the Chairman/CEO and the President for McGriff Texas and was

     told by both of them that he was included in Book Equity, rather than the Program, and that was

     better for him. It wasn't, and the assertion couldn't have possibly been true, as many Producers


     participated in both Book Equity and the Program, McGriffs corporate representative, Mr.

     Hodo, also confirmed he himself, despite not knowing of any other reason why Drew was

     excluded from the Program other than age, and being told by the CEO of McGriffs Texas

     division that Drew was not included because of his age, never told Drew that he was not included


     in the Program due to his age prior to 2021. Additionally, when Drew was given $50,000.00 in

     2016 ~- a mere fraction of what he was entitled to under the Program but for his age — he was

     told by Mr. Hodo that $50,000.00 is better than nothing and Drew understood he would never

     receive anything else. Only then did Drew cease to inquire about the program,

r. McGriffs corporate representative testified he was not sure what else Drew could have done to

     act diligently to find out why he was excluded from the Program when the CEO had told him it


     was because he was getting Book Equity.

s. The Promissory Note Drew signed related to the loan indicated he would be paid in five $ 10,000

     installments through May 1, 2021. These installments were approximately 1,10th of what he

     should have received, and other younger Producers did receiver pursuant to the Program

     formula. Therefore, even if the Court chose not to toll limitations, Drew was subjected to age

      discrimination through at least May 2021, which is well within 180 days of September 2021,

      when he filed his EEOC/TWC Charge of Discrimination, Even in the absence of the Lilly




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     Ledbetter Act - which brings Drew's Charge within the limitations period - these events


     demonstrate Drew was subjected to discrimination within the requisite charge-filing period,

t. Drew pursued every avenue he could to diligently pursue his rights. As McGriffs corporate

     representative recognized numerous times in his deposition, Drew followed up on multiple

     occasions and exercised diligence and acted reasonably throughout the years in trying to figure

     out why he was not included in the Program. In fact, Mr. Hodo testified he was not sure what

     else Drew could have done to act diligently to find out why he was excluded from the Program.

     Thus, similar to the plaintiff in Rhodes, Drew had no reason to suspect the reason he was not a

     part of the Program was due to his age until he discovered McGriffhad concealed relevant facts

     and was actively misleading him in 2021. Accordingly, McGriff should not be allowed to take


     advantage of its misrepresentations and should be estopped from alleging Drew failed to timely

     file his discrimination charge.

u. Even if McGriff was not estopped from asserting a limitations defense, Drew's claims were

     tolled until 2021 under equitable tolling as Drew was unaware of the facts giving rise to his

     claim because ofMEcGriffs intentional concealment and misrepresentation of same.

v. Equitable tolling tolls limitations during the plaintiffs excusable ignorance and is committed to

     the sound discretion of the judge. Champlm v. Manpower Inc.,'No, 4:16-CV-00421, 2018 WL


     572997, at *4 (S.D. Tex. Jan. 24, 2018). For equitable tolling to apply, a plaintiff must show

     "(I) that he has been pursuing his rights diligently, and (2) that some extraordinary circumstance

      stood in his way and prevented timely filing." Id, (quoting Menominee Indian Tribe of Wisconsin

     v. United States, 577 U.S. 250, 255 (2016)).

w. The Fifth Circuit has recognized at least three bases for equitable tolling: the pendency of a suit

      between the same parties in the wrong forum; (2) plaintiffs unawareness of the facts giving rise



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    to the claim because of the defendant's intentional concealment of them; and (3) the EEOC's


    misleading the plaintiff about the nature of her rights. Granger, 636 F.3d at 712.

x. Equitable tolling is to be applied in cases "where purposeful misrepresentations misled a party

     or where a party could not have vindicated its rights even by exercising due diligence." Hull v.

     Emerson Motors/Nidec, 532 Fed. Appx, 586, 588 (5th Cir. 2013). In pleading equitable tolling,

     "[a] plaintiff need not prove intentional misconduct by the employer, but must demonstrate that

     'the defendant's conduct, innocent or not, reasonably induced the plaintiff to not file suit within

     the limitations period.'" Boiidreau v. Nokia of Am. Corp., No. 3:19-CV-01623-E, 2020 WL

     7426155, at *5 (N.D. Tex. Dec. 18, 2020) (quoting Tyler v. Union Oil Co. of Cat, 304 F.3d 379,

     391 (5th Cir. 2002)).

y. Texas law similarly tolls limitations pursuant to fraudulent concealment when a plaintiff proves


     "an underlying wrong, and that the defendant actually knew the plaintiff was in fact wronged,

     and concealed that fact to deceive the plaintiff." Gallier v. Woodbnry Fin. Services, Inc., 171

     F.Supp.Sd 552, 563 (S.D. Tex. 2016) (internal quotations omitted). Fraudulent concealment is

     fact-specific and "tolls limitations until the fraud is discovered or could have been discovered

     with reasonable diligence." Valdez v. Hollenbeck, 465 S.W.3d 217, 229 (Tex.2015). Indeed, as

     the Texas Supreme Court noted, "accrual is deferred because a person cannot be permitted to


      avoid liability for his actions by deceitfully concealing wrongdoing until limitations has run,"

      S.V. v. R.V., 933 S.W,2d 1, 6 (Tex. 1996).


z. This case is riddled with instances of McGriff intentionally misrepresenting the reason for

      denying Drew's participation in the Program. As detailed above, ]\4cGnff completely omitted

      the Program in its communications with Drew even though the Program was included in a

      memorandum regarding Producer Retention just two months earlier. In addition, Drew was



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    told multiple times that he was getting a better deal through Book Equity, rather than Program

    participation, when in reality membership in both was not mutually exclusive, The list of

    Program participants is littered with Producers who also received Book Equity. Nor was Drew

     ever told prior to 2021 that he was not included because of his age, despite McGriffs corporate

     representative having known since 2012-2015 that that was the very reason for his exclusion.

     Rather, Drew was told when he received the $50,000.00 loan that that was better than nothing

     and that was all he would ever be eligible for. Additionally, Drew inquired on multiple

     occasions about the refusal to include him in the Program and, as McGriffs corporate

     representative recognized, exercised diligence and acted reasonably throughout the years in

     trying to figure out why he was not included. Based on these events, there is no conceivable

     way Drew could have known of all the facts to support his claim due to McGriffs continuous

     misrepresentations and concealment until he learned in 2021 that McGriff failed to include him

     and Peter Barbara in the Program due to their age. See Boudreau, 2020 WL 7426155, at *5

     (denying motion to dismiss as sufficient facts were alleged regarding equitable tolling where it

     was not until a younger male with less management experience was hired that the plaintiff

     learned of the facts necessary to support her discrimination charge as the former employer

     previously misrepresented to plaintiff that she did not receive the promotion due to her lack of


     management experience.).


Mr. Hodo testified he wouldn't fault Drew for not filing any sort of discrimination claim at the time

     Drew was told he wasn't in the Program because he purportedly got a better deal by way of

     Book Equity.

aa. Federal Rule of Civil Procedure 8(c) requires a defendant to affirmatively plead a limitations


      defense. FED, R, Civ. P. 8(c) ("In responding to a pleading, a party must affirmatively state any



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     avoidance or affirmative defense, including ,,, statute of limitations ,. . ."); see also Razo v. State


     Farm Lloyds, No, 7:17-CV-00352, 2017 WL 6209608, at *2 (S.D. Tex. Dec. 8, 2017) ("Rule

     8(c) requires a defendant to affirmatively plead its limitations defense, and thus the general rule

     is that such a failure constitutes waiver of the defense."). Thus, a limitations defense, such as

     the failure to exhaust administrative remedies by not timely filing a charge, "is an affirmative

     defense that should be pleaded," Davis v. Fort Bend Cnty., 893 F,3d 300, 308 (5th Cir. 2018),

     aff'd, 139 S. Ct. 1843 (2019); see also Thomas v. Dallas Indep. Sch Dist., No. 3:22-CV-2685-

     G-BN, 2023 WL 4687225, at *3 (N.D. Tex. May 31, 2023) (citing same rule for claims that

     included an ADEA claim); Johnson v. San Jacmto Coll., No. 4:20-CV-2948, 2021 WL 40323,

     at *2 (S.D. Tex, Jan. 5, 2021) (Texas law similarly holds that § 21.202 "creates a statute of

     limitations defense to a TCHRA claim when the administrative charge is not filed within 180


     days of the act alleged to be an unlawful employment practice,"). The Fifth Circuit, however,

     has recognized that failure to raise an affirmative defense under Rule 8(c) in a party's first

     responsive pleading is not fatal if the defense is raised at a pragmatically sufficient time, and

      [the plaintiff] was not prejudiced in its ability to respond." Allied Chem. Corp. v. Mackay, 695

     F.2d 854, 856 (5th Cir. 1983). "Unfair surprise and prejudice are central concerns underlying

     the requirement that a defendant timely plead affirmative defenses." LSREF2 Baron, L.L.C. v.

     Touch, 751 F.3d 394, 402 (5th Cir. 2014).

bb. McGriff contends Drew missed his charge-filing deadline. However, McGriff failed to plead

      this defense in any live pleading. It has been more than a year since MlcGriff filed its Answer

      in this case and it has failed to raise any affirmative defenses despite having an opportunity to

      do so prior to removing this case as well as during the 21-day period it was allowed to do so as

      a matter of course under the Federal Rules, FED. R. Civ. P. 81(c).



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4. Attorneys' Fees and Damages


a. Drew seeks recovery of reasonable and necessary attorneys' fees and costs pursuant to §


     21.259 of the Texas Labor Code as well as 29 U.S.C. § 216(b).

b. In assessing the reasonableness of fees sought by Drew in this lawsuit, courts apply the two-step

     method required by the Fifth Circuit. First, the 'lodestar' is determined by multiplying the


     number of hours reasonably spent on the litigation times a reasonable hourly billing rate,

     Watkms v. Fordice, 1 F.3d 453, 457 (5th Cir. 1993). Once the number of reasonable hours is

     established, those hours are "then multiplied by the selected hourly rate to produce the 'lodestar.'"

     Alberti v. Klevenhagen, 896 F,2d 927, 930 (5th Cir. 1990), In determining the reasonable hourly

     rate, courts dictate that "an appropriate hourly rate" must be selected "based on prevailing

     community standards for attorneys of similar experience in similar cases." Blwn v. Stenson, 465


     U.S. 886, 896 n. 11, 104 S.Ct, 1541 (1984); Alberti, 896 F.2d at 930. The second step in

     assessing attorneys' fees requires application of various factors identified by courts within the

     Fifth Circuit to determine what amount is warranted. The lodestar may be adjusted up or down

     if relevant factors indicate an adjustment is necessary to reach a reasonable fee in the case. The

     Fifth Circuit has identified twelve factors - often referred to as the Johnson factors - a district


     court should be guided by: (1) the time and labor required; (2) the novelty and difficulty of the

     issues in the case; (3) the skill requisite to perform the legal services properly; (4) the preclusion

      of other employment by the attorney due to acceptance of the case; (5) the customary fee charged

      for those services in the relevant community; (6) whether the fee is fixed or contingent; (7) time

      limitations imposed by the client or the circumstances; (8) the amount involved and the results

      obtained; (9) the experience, reputation, and ability of the attorneys; (10) the undesirability of

      the case; (11) the nature and length of the professional relationship with the client; and (12)


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     awards in similar cases. Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5th


     Cir. 1974). Many of the Johnson factors are usually subsumed within the initial calculation of


     hours reasonably expended at a reasonable hourly rate. In fact, the lodestar may not be adjusted

     due to a JoJwson factor if the lodestar calculation already took that factor into account. Watkins


     v. Input/Otttput, Inc., 531 F. Supp.777,784(S.D. Tex. 2007).

c. Drew is more than 40 years of age.


d. McGriffhas more than 500 employees.

e. Drew was qualified to be included in the Program.

f. Drew suffered an adverse employment action by not being included in the Program.

g. IVlcGriff employees who are outside the protected age class were treated more favorably than

     Drew by being included in the Program.

h. McGriff intentionally discriminated against Drew.

i. Drew's age was a motivating factor in, and/or but for cause of, McGriffs decision to exclude

     him from the Program.

j. McGriffs stated reasons for excluding Drew are false and pretext for age discrimination.

k. As a result ofMcGriffs intentional unlawful actions, it violated Chapter 21 of the Texas Labor

      Code and the Age Discrimination in Employment Act when it discriminated against Drew

     because of his age.


1, As a direct and proximate result of the conduct ofIVlcGriff, Drew has suffered injury.

m. For the injuries Drew has suffered, he seeks compensatory and consequential damages,

n. Because McGriff acted with malice or reckless indifference to Drew's state-protected

      rights, he is also entitled to punitive damages. See Tex. Lab. Code § 21.2585.

o. Because McGriff acted willfully, Drew is also entitled to liquidated damages, See 29



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     U.S.C. § 626(b),

p. An Employer acts willfully when it "knew or showed reckless disregard' for whether the ADEA

     prohibited its conduct." Hazen Paper Co. v. Biggins, 507 U.S. 604, 615 (1993).

q. Drew is entitled to recover all applicable pre- and post-judgment interest.

r. Any propositions of fact identified by Plaintiff that the Court concludes are more accurately

     considered propositions of law.



                                                      Respectfully submitted,

                                                      GI




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 28th day of December 2023, a copy of the foregoing document

was served on counsel of record by the Court's el^ff^ic filing E^tem.




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